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UNITED STATES DISTRICT COURT
FOR THE
DISTRICT OF VERMONT
UNITED STATES OF AMERICA, )
)
v. )
) Criminal No. 2:23-cr-00014-ctu =
TYLER ORVIS )
) at =
ALEXIS SUTTON, ) Ie Sf . 2
RUSSELL MITCHELL, ) S os
SIERRA FUENTES, ) QS =
DOROTHY WILDE, ) de 1.
Defendants. ) | a
) -
SUPERSEDING INDICTMENT
The Grand Jury charges:

COUNT
Between in or about October 2022 to on or about December 30, 2022, in the District of
Vermont and elsewhere, the defendants TYLER ORVIS, EE ALEXIS
SUTTON, RUSSELL MITCHELL, SIERRA FUENTES, DOROTHY WILDE and other
individuals, known and unknown to thc grand jury, knowingly and willfully conspired to distribute
cocaine and fentanyl, Schedule II controlled substances.

(21 U.S.C. §§ 846, 841(a), and 841(b\(1(C))

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COUNT TWO
In or about December 2022, in the District of Vermont, defendant TYLER ORVIS
managed and controlled a place, namely 98 Meadow Road Milton, Vermont, as owner and lessee
and occupant, and knowingly and intentionally made that place available for use for the purposes
of unlawfully manufacturing, storing, distributing, and using controlled substances.

(21 U.S.C. § 856(a\(2))

A TRUE BILL

PERSON

hy ‘ob. bay (ZBS)

NIKOLAS P. KEREST
United States Attorney
Burlington, Vermont
April 20, 2023

